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EXHIBIT B

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES INC., et al.,' Case No. 10-10360 (MFW)
Debtors. Jointly Administered

AFFIDAVIT OF NEIL A. AUGUSTINE IN SUPPORT OF THE APPLICATION FOR AN
ORDER AUTHORIZING THE DEBTORS AND DEBTORS-IN-POSSESSION TO EMPLOY
AND RETAIN ROTHSCHILD INC. AS FINANCIAL ADVISOR AND INVESTMENT
BANKER PURSUANT TO 11 U.S.C. §§ 327(a) AND 328(a), NUNC PRO TUNC TO THE
PETITION DATE AND GRANTING WAIVER OF COMPLIANCE WITH
DEL. BANKR. L.R. 2016-2(d) INACCORDANCE WITH DEL. BANKR, L.R. 2016-2(g)

STATE OF NEW YORK )
COUNTY OF NEW YORK os
Neil A. Augustine, being duly sworn, deposes and states:
1. I am over the age of 18 and competent to testify. I am a Managing
Director, the Head of North America Restructuring, and a member of the management
committee of the investment banking firm Rothschild Inc. (“Rothschild”), which has an office
located at 1251 Avenue of the Americas, New York, New York 10020. I am duly authorized to

make this declaration (the “Declaration”) on behalf of Rothschild and in support of the

application (the “Application”) of the above-captioned debtor and debtors in possession

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, Inc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(8664); Mercer Forge Corporation (1711); Deeter Foundry, Inc. (5148); Dalton Corporation (9770); Belcher
Corporation (3193); Peerless Corporation (4462); A&M Specialties, Inc. (1756); Dalton Corporation, Warsaw
Manufacturing Facility (4775); Dalton Corporation, Ashland Manufacturing Facility (3079); Dalton Corporation,
Kendallville Manufacturing Facility (4777); Dalton Corporation, Stryker Machining Facility Co. (3080), and
Morgan’s Welding, Inc. (1300). The mailing address for each Debtor is 2121 Brooks Avenue, Neenah, WI 54957.

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(collectively, the “Debtors”) in the above-captioned chapter 11 cases, for entry of an order
authorizing the Debtors to employ and retain Rothschild as financial advisors and investment
bankers for the Debtors in connection with their chapter 11 cases. Unless otherwise stated in this
Affidavit, I have personal knowledge of the facts set forth herein and, if called as a witness, I
would testify thereto.’

2. I submit this affidavit in compliance with sections 105, 327, 328 and
1107(a) of the Bankruptcy Code and to provide the disclosure required under Rule 2014(a), 2016
and 5002 of the Bankruptcy Rules and Rule 2014-1 of the Local Rules.

3. Rothschild believes that the services will not duplicate the services that
other professionals will be providing to the Debtors in these Chapter 11 Cases. Specifically,
Rothschild will carry out unique functions and will use reasonable efforts to coordinate with the
Debtors’ other retained professionals to avoid the unnecessary duplication of services.

4, Rothschild is a member of one of the world’s leading independent
investment banking groups, with more than forty (40) offices in more than thirty (30) countries,
including an office located at 1251 Avenue of the Americas, 51st Floor, New York, New York
10020. Rothschild has expertise in domestic and cross-border restructurings, mergers and
acquisitions, new capital raises and other financial advisory services, and with particular
experience in providing high-quality financial advisory services to financially troubled
companies. Rothschild is an experienced bankruptcy and restructuring advisor to debtors,
bondholders, creditors’ committees, single creditor classes, and secured creditors in a variety of

industries. Rothschild is highly qualified to advise on strategic alternatives and its professionals

? Certain of the disclosures set forth herein relate to matters within the knowledge of other employees at Rothschild
and are based on information they have provided to me.

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have extensive experience in deals involving complex financial and operating restructurings.
Rothschild is a member of the Financial Industry Regulatory Authority and the Securities
Investor Protection Corporation.

5. Rothschild and its professionals also have extensive experience working
with financially troubled companies from a variety of industries in complex financial
restructurings, both out-of-court and in chapter 11 cases. Rothschild’s business reorganization
professionals have extensive experience in advising debtors, creditors, and other constituents in
chapter 11 cases and have served as financial and strategic advisors in numerous cases,
including, among others: Atlantic Express Transportation Group, Barney’s, Inc., Bedford Fair
Industries, BHM Technologies Holdings, Inc., Bradlees’, Inc., Cadence Innovation LLC, Circuit
City Stores, Inc., Comdisco, Inc., Crown Vantage, Inc., Delphi Corporation, Edison Brothers
Stores, Inc., Fairpoint Communications, Inc., Federal Mogul Corp., Friedman’s, Inc., Geneva
Steel Company, Globe Manufacturing, Guilford Mills, Inc., Heartland Steel, HomePlace, Inc.,
Hilex Poly Co. LLC, International Wire Group, James River Coal Company, Key Plastics LLC,
La Roche Industries, Inc., Leiner Health Products, Inc., Metromedia International Group, Inc.,
Milacron Inc., Motor Coach Industries, Inc., Mpower Holdings Corp., New World Pasta
Company, Northwest Airlines, Inc., Oxford Automotive, Inc., Pacific Gas & Electric Company,
PPI Holdings, Inc., Recycled Paper Greetings, Inc., Remy Worldwide Holdings, Inc., Sea
Launch Co., LLC, Service Merchandise Corp., Special Metals Corporation, Solutia, Inc.,
Superior Telecom Inc., Sun-Times Media Group, Inc., The FINOVA Group Inc., Thermadyne
Holdings Corp., Thorn Apple Valley, Inc., Tower Automotive, Trans World Airlines, Trident
Resources Corp., Today’s Man, Inc., Trident Resources Corp., Tronox Inc., UAL Corporation,

VeraSun Energy Corporation, Viasystems Group, Inc., Visteon Corp., WestPoint Stevens, Inc.,

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Werner Holding Company, Wilcox & Gibbs, Inc. and Zenith Electronics, Inc.

6. Further, Rothschild has provided prepetition services to the Debtors in
connection with the Debtors’ restructuring efforts, including assisting the Debtors’ management
in developing a long-term business plan, conducting an extensive out-of-court financing effort,
conducting extensive negotiations with various parties in interest, discussing various
recapitalization alternatives with key stakeholders, negotiating the terms of the Debtors’ post-
petition financing facilities, negotiating the terms of the prenegotiated plan of reorganization, and
providing additional investment banking services in preparation for the filing of these chapter 11
cases. As a result, Rothschild has developed a reserve of institutional knowledge related to, and
an intimate understanding of, the Debtors’ business operations, capital structure, creditors, and
other material information. Rothschild is willing to act on behalf of the Debtors and subject
itself to the jurisdiction and supervision of this Court.

7. The Fee Structure described in the Application and Engagement Letter is
consistent with Rothschild’s normal and customary billing practices for comparably-sized and
complex cases and transactions, both in and out of court, involving the services to be provided in
connection with these Chapter 11 Cases. Further, the Fee Structure was established to reflect the
difficulty of the extensive assignments Rothschild expects to undertake. Accordingly,
Rothschild believes that the foregoing compensation arrangements are both reasonable and
market based.

8. Rothschild will file interim and final fee applications for the allowance of
compensation for services rendered and reimbursement of expenses incurred in accordance with
the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the guidelines for the

U.S. Trustee and any applicable orders of this Court.

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9. It is not the general practice of investment banking firms, including
Rothschild, to keep detailed time records similar to those customarily kept by attorneys. Because
Rothschild does not ordinarily maintain contemporaneous time records in one-tenth hour (0.10)
increments or provide or conform to a schedule of hourly rates for its professionals, Rothschild
should, pursuant to Local Rule 2016-2(g), be excused from compliance with such requirements
and should only be required to maintain time records in half-hour (0.50) increments setting forth,
in a summary format, a description of the services rendered by each professional and the amount
of time spent on each date by each such individual in rendering services on behalf of the Debtors.

10. Rothschild will also maintain detailed records of any actual and necessary
costs and expenses incurred in connection with the aforementioned services. Rothschild’s
applications for compensation and expenses will be paid by the Debtors, pursuant to the terms of
the Engagement Letter, in accordance with the procedures established by the Court.

11. | According to Rothschild’s books and records, within the 90-day period
prior to the Petition Date, the Debtors paid Rothschild $543,750.00 in fees and $37,661.84 for
reimbursement of expenses. Prior to the Petition Date, Rothschild received approximately
$1,562,228.79 from the Debtors for prepetition services rendered and expenses incurred in
advising the Debtors. Rothschild will hold any amounts it received prepetition in excess of fees
and expenses that Rothschild accrued prepetition, if any, and will apply such excess towards its
fees and expenses that accrue after the Petition Date.

12. In connection with Rothschild’s proposed employment and retention by
the Debtors, Rothschild undertook a conflicts analysis to determine whether it had any conflicts
or other relationships that might cause it to represent or hold any interest adverse to the Debtors’

estate. In connection with this inquiry, Rothschild obtained from the Debtors and/or its

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representatives the names of individuals and entities that may be parties-in-interest in these

chapter 11 cases (the “Potential Parties in Interest”), a copy of which is attached hereto as

Exhibit 1

13. To the best of my knowledge and belief, Rothschild has not represented
any Potential Parties in Interest in connection with matters relating to the Debtors, their estates,
assets, or businesses and will not represent other entities which are creditors of, or have other
relationships to, the Debtors in matters relating to these chapter 11 cases except as set forth
herein and in Exhibit 2 attached hereto.

14. Rothschild provides financial advice and investment banking services to
an array of clients in the areas of restructuring and distressed debt. As a result, Rothschild has
represented, and may in the future represent, certain Potential Parties in Interest in matters
unrelated to these chapter 11 cases, either individually or as part of representation of a committee
of creditors or interest holders. To the best of my knowledge, information and belief, insofar as I
have been able to ascertain after reasonable inquiry, none of these representations are adverse to
the Debtors’ interests.

15. To the best of my knowledge and belief, neither Rothschild nor I, nor any
other employee of Rothschild that will work on the Debtors’ engagement has any connection
with or holds any interest adverse to the Debtors, their estates or the Potential Parties in Interest
in matters related to Rothschild retention in these chapter 11 cases, except (i) as set forth in

Exhibit 2 and (ii) as otherwise set forth below:

a) Before the commencement of these cases, Rothschild
rendered prepetition services to the Debtors. As noted
above, although Rothschild’s records indicate that it is not
owed any amounts in respect of prepetition services
provided to the Debtors, it is possible that certain expenses
that were incurred by Rothschild, and that are reimbursable

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b)

d)

under the terms of the Engagement Letter, were not yet
reflected on Rothschild’s books and records as of the
Commencement Date.

Rothschild is a large investment banking firm and has
likely provided services unrelated to the Debtors for
companies and individuals that have conducted business in
the past and/or currently conduct business with the Debtors,
and who may be creditors of the Debtors. To the best of
my knowledge, information and belief, Rothschild’s
services to these parties were and are wholly unrelated to
the Debtors, their estates or these chapter 11 cases.

As part of its practice, Rothschild appears in numerous
cases, proceedings, and transactions involving many
different professionals, some of which may represent
claimants and parties in interest in the Debtors’ chapter 11
cases. Furthermore, Rothschild has in the past and will
likely in the future be working with or against other
professionals involved in these cases in matters unrelated to
these cases. Based on my current knowledge of the
professionals involved, and to the best of my knowledge
and information, none of these business relationships
represents an interest materially adverse to the Debtors
herein in matters upon which Rothschild is to be engaged.

Rothschild, through the equity owners of its parent
company, Rothschild North America Inc., has indirect
affiliate relationships with numerous investment banking
institutions located worldwide (the “Affiliated Entities”).
However, none of the Affiliated Entities is being retained in
connection with this engagement and none of the
professionals or employees of the Affiliated Entities will
provide services to the Debtors in connection with this
engagement. None of the professionals or employees of
Rothschild has discussed or will discuss the Debtors’ cases
with any professional or employee of the Affiliated
Entities. Thus, there has not been and will not be any flow
of information between Rothschild and any Affiliated
Entity with respect to any matter pertaining to the Debtors
or their chapter 11 cases. Rothschild can make no
representation as to the disinterestedness of the
professionals or employees of the Affiliated Entities in
respect of the Debtors’ chapter 11 cases.

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16. To the best of my knowledge, no individual assignment referenced on
Exhibit 2 currently accounts for more than 1.5% of Rothschild’s gross annual revenues.

17. To the best of my knowledge, information, and belief, except as described
herein, Rothschild has not been retained to assist any entity or person other than the Debtors on
matters relating to these chapter 11 cases. Rothschild will, however, continue to provide
professional services to entities or persons that may be creditors or equity security holders of the
Debtors or Interested Parties in these chapter 11 cases; provided that such services do not relate
to, or have any direct connection with, these chapter 11 cases or the Debtors.

18. If any new relevant facts or relationships are discovered or arise during the
pendency of these chapter 11 cases, Rothschild will use reasonable efforts to identify such
further developments and will promptly file a supplemental affidavit as required by Bankruptcy
Rule 2014.

19. Jam not related or connected to and, to the best of my knowledge, no
other professional of Rothschild who will work on this engagement is related or connected to,
any United States Bankruptcy Judge for the District of Delaware, any of the District Judges for
the District of Delaware who handle bankruptcy cases, or any employee in the Office of the
United States Trustee for the District of Delaware.

20. To the best of my knowledge, Rothschild has no agreement with any other
entity to share with such entity any compensation received by Rothschild in connection with the
Debtors’ bankruptcy cases.

21. Accordingly, except as otherwise set forth herein, insofar as I have been
able to determine, none of Rothschild, I, nor any employee of Rothschild who will work on the

engagement holds or represents any interest adverse to the Debtors or their estates, and

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Rothschild is a “disinterested person” as that term is defined in Bankruptcy Code § 101(14), as
modified by § 1107(b) of the Bankruptcy Code, in that Rothschild, and its professionals and
employees who will work on the engagement:
a) are not creditors, equity security holders, or insiders of the
Debtors;
b) were not, within two years before the date of filing of the

Debtors’ chapter 11 petitions, a director, officer, or
employee of the Debtors; and

C) do not have an interest materially adverse to the interest of
the Debtors’ estates or any class of creditors or equity
security holders, by reason of any direct or indirect
relationship to, connection with or interest in the Debtors,
or for any other reason.

22. If Rothschild discovers additional information that requires disclosure,
Rothschild promptly will file a supplemental disclosure with the Court as required by
Bankruptcy Rule 2014.

23. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

Executed on February 19, 2010 By: wd dA

AG A. Augustifé
Managing Director
Rothschild Inc,

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Exhibit 1

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ALL DEBTOR ENTITIES

(A&M Specialties, Inc.
ACP Holding Company
Advanced Cast Products, Inc.
' Belcher Corporation
Cast Alloys, Inc.
Dalton Corporation
Dalton Corporation, Ashland Manufacturing
Facility
Dalton Corporation, Kendallville Manufacturing
Facility
Dalton Corporation, Stryker Machining Facility
Dalton Corporation, Warsaw Manufacturing
Facility
Deeter Foundry, Inc.
Gregg Industries, Inc.
Mercer Forge Corporation
Morgan's Welding, Inc.
Neenah Corporation
Neenah Enterprises, Inc.
Neenah Foundry Company
Neenah Transport, Inc.
Neiman Porter & Co.
NEFC Castings, Inc.
Peerless Corporation

HOLDERS OF MORE THAN 5% OF
COMMON STOCK OF NEI

Tontine Capital Partners, L.P.
Tontine Capital Overseas Master Fund,
L.P.

CURRENT DIRECTORS AND
OFFICERS

John H. Andrews
Joseph M. Cerulli
Louis E. Fratarcangeli
David B. Gendell
Robert J. Gitter
Stephen E.K. Graham
Frank Headington
Jeffrey S. Jenkins
Joseph V. Lash
Jeffrey G. Marshall
Robert E. Ostendorf Jr.
Dale E. Parker

30 LARGEST UNSECURED
CREDITORS

American Colloid Company
Atmosphere Annealing, Inc.

Badger Mining Corp

Caterpillar, Inc.

Dana Corporation Commercial Vehicle
Div of Allied Mineral Products, Inc.
Erie Coke Corporation

Faith Technologies

First Energy Solutions Corp.
Foseco Metallurgical Inc.

Gerdau Ameristeel US

Health Assurance PA, Inc.

Holmes Murphy & Associates, Inc.
Lewis Salvage Corporation

Louis Padnos Iron & Metal Co.
State of Michigan Tax Division
Nucor Steel, Auburn, Inc.
Oudenhoven Company, Inc.

Ryder Transportation Services
Sadoff Iron & Metal Co.

Sandmold Systems, Inc.

State of Michigan Tax Division
Steel Dynamics Bar Products Division
TA Services, Inc.

The Timken Corporation
Tonawanda Coke

Tontine Capital Partners, L.P.

Tube City, Inc.

WE Energies

PREPETITION LENDERS

Banc of America Securities LLC

Bank of America, N.A.

General Electric Capital Corporation

Wachovia Capital Finance Corporation (Center)

ADMINISTRATIVE AGENTS FOR
THE PREPETITION LENDERS

Bank of America, N.A.

POST PETITION LENDERS
Banc of America Securities LLC
Bank of America, N.A.
General Electric Capital Corporation
Wachovia Capital Finance Corporation (Center)

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AGENTS FOR THE POST PETITION
LENDERS

Bank of America, N.A.

PROFESSIONALS RETAINED BY
ADMINISTRATIVE AGENT FOR THE

PREPETITION LENDERS

Goldberg Kohn LTD
CM&D Capital Advisors LLC

INDENTURE TRUSTEE FOR SENIOR
NOTEHOLDERS

The Bank of New York Mellon Trust
Company, N.A.

AD HOC COMMITTEE OF SENIOR
NOTEHOLDERS

Bennett Management Corporation
GoldenTree Asset Management, LP
Litespeed Management LLC
Mackay Shields LLC

PROFESSIONALS RETAINED BY
AD HOC COMMITTEE OF SENIOR
NOTEHOLDERS

Stroock & Stroock & Lavan LLP
Moelis and Company

MAJOR INSURANCE CARRIERS,
REINSURANCE CARRIERS, AGENTS
AND BROKERS

ACE American Insurance Co.

Chartis

Continental Casualty Co.

Federal Insurance Co.

Fireman’s Fund Insurance Co.

Illinois National Insurance Co. (Chartis)
Indian Harbor Insurance

RSUI Indemnity Co.

St. Paul Fire & Marine Insurance Company
Travelers

XL Specialty Insurance Company

PROFESSIONALS
RETAINED BY THE DEBTORS

Ernst and Young LLP

Garden City Group Inc.

Huron Consulting Services, LLC
Mercer (U.S.) Inc.

Rothschild, Inc.

Sidley Austin LLP

UNIONS REPRESENTING
EMPLOYEES OF THE DEBTORS

Glass, Molders, Pottery, Plastics and Allied
Workers International Union

United Steelworkers of America
Independent Patternmakers Union

JUDGES ON THE UNITED STATES
BANKRUPTCY COURT FOR THE
DISTRICT OF DELAWARE

Kevin J. Carey

Judith K. Fitzgerald
Kevin Gross

Brendan L. Shannon
Christopher S. Sontchi
Mary F. Walrath

Peter J. Walsh

ATTORNEYS EMPLOYED BY THE
OFFICE OF THE UNITED STATES
TRUSTEE FOR REGION 3, DISTRICT
OF DELAWARE

David Buchbinder
Roberta A. DeAngelis
William K. Harrington
Mark Kenney

David Klauder

Jane Leamy

Joseph McMahon
Richard Schepacarter
Thomas Tinker
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LANDLORDS OF THE DEBTORS

CJ&D Properties

Combs Enterprises

Fiserv Investment Support Service
Freeman Properties

Harbor Investments

John & Madeline Kosky
Prairieville LLC

Wade Frauhigher

Warehouse Specialist

Warsaw Plating Works

DIP TERM LOAN LENDERS/AGENT

Bennett Management Corporation
GoldenTree Asset Management, LP
Litespeed Management LLC
Mackay Shields LLC

Wilmington Trust FSB

Bank of America, N.A.

HOLDERS OF THE 12% NOTES

Tontine Capital Partners, L.P
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Exhibit 2

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